       Case 4:22-cv-01891 Document 8 Filed on 08/26/22 in TXSD Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

U.S. BANK NATIONAL                              §
ASSOCIATION, NOT IN ITS                         §
INDIVIDUAL CAPACITY BUT                         §
SOLELY AS TRUSTEE FOR THE                       §
RMAC TRUST, SERIES 2016-CTT,                    §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §                 Civil Action No. 4:22-cv-1891
                                                §
BASSAM BEIDAS and                               §
HANADI BEIDAS,                                  §
                                                §
       Defendants.                              §

                            JOINT STIPULATION OF DISMISSAL

        Plaintiff U.S. Bank National Association, Not in its Individual Capacity but Solely as

 Trustee for the RMAC Trust, Series 2016-CTT (“Plaintiff”) and Defendants Bassam Beidas and

 Hanadi Beidas (“Defendants”) (collectively the “Parties”), by and through their undersigned

 counsel, hereby stipulate that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), all

 claims and causes of action asserted by Plaintiff against Defendants are dismissed.

                                              Respectfully submitted,

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 Joint Stipulation of Dismissal                                                        Page 1 of 2
 H610-2119 / BDF 8665085 Beidas
      Case 4:22-cv-01891 Document 8 Filed on 08/26/22 in TXSD Page 2 of 2




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Joint Stipulation of Dismissal                                            Page 2 of 2
H610-2119 / BDF 8665085 Beidas
